       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 1 of 27



 1    MICHAEL A. JACOBS (SBN 111664)
      MJacobs@mofo.com
 2    MORRISON & FOERSTER LLP
      425 Market Street
 3    San Francisco, California 94105-2482
      Telephone:    (415) 268-7000
 4    Facsimile:    (415) 268-7522
      [CAPTION PAGE CONTINUED ON NEXT PAGE]
 5
      Attorneys for Defendants OPENAI, INC., OPENAI, L.P., OPENAI
 6    OPCO, L.L.C., OPENAI GP, L.L.C., OPENAI STARTUP FUND GP I,
      L.L.C., OPENAI STARTUP FUND I, L.P., OPENAI STARTUP
 7    FUND MANAGEMENT, LLC, OPENAI, L.L.C., OPENAI GLOBAL,
      LLC, OAI CORPORATION, OPENAI HOLDINGS, LLC, OPENAI
 8    HOLDCO, LLC, OPENAI INVESTMENT LLC, OPENAI STARTUP
      FUND SPV I, L.P., and OPENAI STARTUP FUND SPV GP I, L.L.C.,
 9

10                                   UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12
      J. DOE 1, et al.,                               Case No. 4:22-cv-06823-JST
13                                                    Case No. 4:22-cv-07074-JST
                              Plaintiffs,
14                                                    Hon. Jon S. Tigar
             v.
15                                                    CLASS ACTION
      GITHUB, INC., et al.,
16                                                    DEFENDANTS OPENAI, INC., OPENAI,
                              Defendants.             L.P., OPENAI OPCO, L.L.C., OPENAI GP,
17                                                    L.L.C., OPENAI STARTUP FUND GP I,
                                                      L.L.C., OPENAI STARTUP FUND I, L.P.,
18                                                    OPENAI STARTUP FUND
                                                      MANAGEMENT, LLC, OPENAI, L.L.C.,
19                                                    OPENAI GLOBAL, LLC, OAI
                                                      CORPORATION, OPENAI HOLDINGS,
20                                                    LLC, OPENAI HOLDCO, LLC, OPENAI
                                                      INVESTMENT LLC, OPENAI STARTUP
21                                                    FUND SPV I, L.P., AND OPENAI
                                                      STARTUP FUND SPV GP I, L.L.C.’S
22                                                    MOTION TO DISMISS SECOND
                                                      AMENDED COMPLAINT
23
                                                      Date: May 16, 2024
24                                                    Time: 2:00 p.m.
                                                      Dept: Courtroom 6
25

26

27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 2 of 27



 1    JOSEPH C. GRATZ (SBN 240676)
      JGratz@mofo.com
 2    TIFFANY CHEUNG (SBN 211497)
      TCheung@mofo.com
 3    MELODY E. WONG (SBN 341494)
      MelodyWong@mofo.com
 4    MORRISON & FOERSTER LLP
      425 Market Street
 5    San Francisco, California 94105-2482
      Telephone:    (415) 268-7000
 6    Facsimile: (415) 268-7522

 7    ALLYSON R. BENNETT (SBN 302090)
      ABennett@mofo.com
 8    ROSE S. LEE (SBN 294658)
      RoseLee@mofo.com
 9    ALEXANDRA M. WARD (SBN 318042)
      AlexandraWard@mofo.com
10    MORRISON & FOERSTER LLP
      707 Wilshire Boulevard
11    Los Angeles, California 90017-3543
      Telephone: (213) 892-5200
12    Facsimile: (213) 892-5454

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
     Case No. 4:22-cv-06823-JST
      Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 3 of 27



 1                               NOTICE OF MOTION AND MOTION

 2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on May 16, 2024 at 2:00 p.m., or at a different time and

 4   date set by the Court, Defendants OPENAI, INC., OPENAI, L.P., OPENAI OPCO, L.L.C.,

 5   OPENAI GP, L.L.C., OPENAI STARTUP FUND GP I, L.L.C., OPENAI STARTUP FUND I,

 6   L.P., OPENAI STARTUP FUND MANAGEMENT, LLC, OPENAI, L.L.C., OPENAI

 7   GLOBAL, LLC, OAI CORPORATION, OPENAI HOLDINGS, LLC, OPENAI HOLDCO, LLC,

 8   OPENAI INVESTMENT LLC, OPENAI STARTUP FUND SPV I, L.P., and OPENAI

 9   STARTUP FUND SPV GP I, L.L.C. (hereinafter “OpenAI”), by and through counsel, will and

10   hereby do move the Court to dismiss the following claims asserted in the Second Amended

11   Complaint against OpenAI: (1) violation of the Digital Millennium Copyright Act (“DMCA”),

12   17 U.S.C. § 1202, et seq., and (2) breach of contract.

13          This Motion is made pursuant to Federal Rules of Civil Procedure 12(b)(6) and is based

14   upon this Notice of Motion and Motion, the Memorandum of Points and Authorities included

15   herewith, the Proposed Order submitted herewith, all pleadings and papers on file in this action,

16   and such further evidence that may be submitted to the Court or before the hearing.

17

18

19

20

21

22

23

24

25

26

27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
     Case No. 4:22-cv-06823-JST                                                                          i
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 4 of 27



 1                                                  TABLE OF CONTENTS

 2                                                                                                                                  Page
     MEMORANDUM OF POINTS AND AUTHORITIES ................................................................ 1
 3   I.   INTRODUCTION .............................................................................................................. 1
 4   II.  LEGAL STANDARD ......................................................................................................... 1
     III. PLAINTIFFS’ CLAIMS AGAINST OPENAI SHOULD BE DISMISSED ..................... 2
 5
          A.   DMCA Section 1202(b) .......................................................................................... 2
 6             1.     Plaintiffs Have Not Shown Evidence That Copilot Produces
                      Identical Copies of Plaintiffs’ Works.......................................................... 3
 7
               2.     Plaintiffs’ New Allegations Confirm Copilot Does Not Make
 8                    Identical Copies of Plaintiffs’ Works.......................................................... 4
          B.   Breach of Contract .................................................................................................. 6
 9
               1.     The Open-Source Licenses Are Part of the SAC ........................................ 7
10             2.     Plaintiffs Do Not Allege Breach Based on the Operation of
                      OpenAI’s Codex Product ............................................................................ 7
11
               3.     Plaintiffs Also Fail to State a Claim Against OpenAI Based on
12                    Copilot ......................................................................................................... 8
                      a.       Plaintiffs’ Theory Based on Copilot Does Not Give Rise to
13                             a Breach of Contract Claim Against OpenAI ................................. 8
14                    b.       Plaintiffs’ Theory Based on Copilot Fails on the Merits .............. 10
                               i.          The Attribution and Notice Terms Are Conditions,
15                                         Not Covenants ................................................................... 10
16                             ii.         Failure to Meet a Condition Does Not Give Rise to a
                                           Claim for Breach of Contract ............................................ 18
17   IV.  CONCLUSION ................................................................................................................. 19
18

19

20

21

22

23

24

25

26

27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
     Case No. 4:22-cv-06823-JST                                                                                                        ii
        Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 5 of 27



 1                                                    TABLE OF AUTHORITIES
 2                                                                                                                                     Page(s)
 3    Cases
 4
      In re Ambry Genetics Data Breach Litig.,
 5        567 F. Supp. 3d 1130 (C.D. Cal. 2021) .................................................................................... 4

 6    Ashcroft v. Iqbal,
         556 U.S. 662 (2009) .................................................................................................................. 1
 7
      Bell Atl. Corp. v. Twombly,
 8        550 U.S. 544 (2007) .................................................................................................................. 2
 9    Britschgi v. McCall,
10        41 Cal. 2d 138 (1953) ............................................................................................................. 18

11    City of Palm Springs v. Living Desert Reserve,
          70 Cal. App. 4th 613 (1999) ................................................................................................... 18
12
      In re Gilead Scis. Sec. Litig.,
13        536 F.3d 1049 (9th Cir. 2008)................................................................................................... 2
14    Graham v. James,
15       144 F.3d 229 (2d Cir. 1998) .................................................................................................... 19

16    Jacobsen v. Katzer,
         535 F.3d 1373 (Fed. Cir. 2008) ......................................................................................... 11, 16
17
      Leadsinger, Inc. v. BMG Music Pub.,
18       512 F.3d 522 (9th Cir. 2008)..................................................................................................... 7
19    MDY Indus., LLC v. Blizzard Entm’t., Inc.,
        629 F.3d 928 (9th Cir. 2010), as amended on denial of reh'g (Feb. 17, 2011) ................. 10, 18
20

21    Mendiondo v. Centinela Hosp. Med. Ctr.,
        521 F.3d 1097 (9th Cir. 2008)............................................................................................... 1, 6
22
      Powell v. Wells Fargo Home Mortg.,
23       No. 14-cv-04248-MEJ, 2017 WL 840346 (N.D. Cal. Mar. 3, 2017) ........................................ 4
24    Sun Microsystems, Inc. v. Microsoft Corp.,
         81 F. Supp. 2d 1026 (N.D. Cal. 2000) .................................................................................... 18
25
      Sun Microsystems v. Microsoft Corp.,
26
         188 F.3d 1115 (9th Cir. 1999)................................................................................................. 19
27
      United States v. Ritchie,
28       342 F.3d 903 (9th Cir. 2003)................................................................................................. 5, 7

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                                                              iii
     Case No. 4:22-cv-06823-JST
        Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 6 of 27



 1    Statutes, and Rules
 2    17 U.S.C. § 1201-1205 (Digital Millennium Copyright Act (“DCMA”) .............................. passim
 3    Fed. R. Civ. P. 12(b)(6) ........................................................................................................... 1, 2, 6
 4
      Other Authorities
 5
      3 Nimmer on Copyright § 10.15 ................................................................................................... 19
 6
      1 Witkin, Summary 11th Contracts § 800 (2023) ......................................................................... 16
 7
      1 Witkin, Summary 11th Contracts § 801 (2023) ................................................................... 17, 18
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                                                              iv
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 7 of 27



 1                          STATEMENT OF THE ISSUES TO BE DECIDED

 2           This motion raises the following issues:

 3       1. Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. §§ 1201-1205 (Count 1).

 4    Whether this claim should be dismissed for failing to allege (i) removal of CMI from identical

 5    copies or (ii) distribution of identical copies with removed CMI.

 6       2. Breach of Contract – Open-Source License Violations (Count 2): Whether this claim

 7    should be dismissed for failing to allege sufficient (i) facts in support of breach of contract by

 8    OpenAI, or (ii) facts in support of breach of contract by any party.

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                           v
     Case No. 4:22-cv-06823-JST
          Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 8 of 27



 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.       INTRODUCTION

 3            Plaintiffs have twice attempted and failed to plead claims that pass muster on a motion to

 4   dismiss. Now, on their third attempt, Plaintiffs’ only remaining claims against the OpenAI

 5   entities (collectively, “OpenAI”) are for violation of Section 1202(b) of the Digital Millennium

 6   Copyright Act (“DMCA”) and breach of contract for violations of certain open-source software

 7   licenses.

 8            The Court previously dismissed Plaintiffs’ DMCA claim for failing to plausibly allege

 9   that GitHub’s Copilot product outputs identical copies of Plaintiffs’ code. As the Court

10   anticipated,1 Plaintiffs’ Second Amended Complaint (“SAC,” D.I. 197-3) does not cure that

11   deficiency.

12            Plaintiffs’ contract claim also fails. As a threshold matter, Plaintiffs only allege breach of

13   contract based on the operation of Copilot and thus any claim based on the operation of Codex

14   should be dismissed. In addition, Plaintiffs’ theory of breach against OpenAI based on Copilot

15   fails for two independent reasons: (1) Plaintiffs’ theory is based on Copilot’s outputs, which

16   Plaintiffs concede are controlled by GitHub, not OpenAI; and (2) Plaintiffs’ theory of breach is

17   based on OpenAI’s alleged failure to meet conditions on the grant of license, rather than

18   contractual covenants, and thus at most gives rise to an action for copyright infringement (due to

19   an alleged lack of license), not an action for breach of contract.

20            Both remaining claims against OpenAI should thus be dismissed.

21   II.      LEGAL STANDARD

22            To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient factual

23   matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

24   556 U.S. 662, 678 (2009) (cleaned up). Dismissal is appropriate “where the complaint lacks a

25   cognizable legal theory or sufficient facts to support a cognizable legal theory.” Mendiondo v.

26

27            1
              D.I. 189 at 16 (granting leave to amend “[a]lthough the Court finds it unlikely that this
     deficiency could be cured by the allegation of additional facts”).
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
     Case No. 4:22-cv-06823-JST                                                                                1
        Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 9 of 27



 1    Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008). Moreover, “[f]actual allegations

 2    must be enough to raise a right to relief above the speculative level” and “a formulaic recitation of

 3    the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

 4    (2007). The Court need not accept as true conclusory allegations or legal characterizations, nor

 5    need it accept unreasonable inferences or unwarranted factual deductions. In re Gilead Scis. Sec.

 6    Litig., 536 F.3d 1049, 1055 (9th Cir. 2008).

 7    III.   PLAINTIFFS’ CLAIMS AGAINST OPENAI SHOULD BE DISMISSED

 8           Plaintiffs have two remaining claims against OpenAI: violation of Section 1202(b) of the

 9    Digital Millennium Copyright Act (“DMCA”) (Count 1) and breach of contract (Count 2). As

10    detailed below, Plaintiffs have failed to plausibly plead either claim under Rule 12(b)(6).

11           A. DMCA Section 1202(b)
12           The Court previously dismissed Plaintiffs’ claims under Section 1202(b) of the DMCA
13    because they failed to allege that Copilot outputs identical copies of their code with Copyright
14    Management Information (“CMI”) removed. (Dkt. No. 189 at 15-16.) The SAC still does not
15    allege any such output. The SAC therefore contains the same “fundamental defect” as the First
16    Amended Complaint (“FAC,” D.I. 97-3): Plaintiffs allege only that Copilot will output portions
17    of their code when very specifically prompted to do so, and even then those portions are
18    modified. (Dkt. No. 189 at 15.)
19           Plaintiffs cannot fix this problem by alleging, as the SAC does, that there is a “substantial
20    risk” that Defendants will violate Section 1202(b) in the future by distributing copies of their code
21    knowing CMI had been removed. (SAC ¶ 206.) Although a similar “substantial risk” argument
22    survived Defendants’ first motion to dismiss the DMCA claim (Dkt. No. 95 at 20-21), the Court
23    did not then address the DMCA’s identicality requirement. (Dkt. No. 189 at 14 (describing the
24    requirement as “an unresolved argument from the prior briefing.”).) In its most recent order
25    dismissing the DMCA claim, the Court (i) established the identicality requirement, (ii) found that
26    the allegations in the FAC failed to meet the requirement, and (iii) clarified that the DMCA claim
27    will only survive if Plaintiffs present “additional facts” sufficient to cure this deficiency in an
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                            2
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 10 of 27



 1    amended complaint. (Id. At 14-16.) In the SAC, Plaintiffs primarily repeat their prior allegations

 2    and bring only two new allegations to the table. Even accepting these new allegations as true, the

 3    allegations still fail to satisfy the identicality requirement and fall short of the required elements

 4    of a claim under Section 1202(b) of the DMCA.

 5                     1. Plaintiffs Have Not Shown Evidence That Copilot Produces Identical
                          Copies of Plaintiffs’ Works
 6
             This Court has held that Plaintiffs can bring a Section 1202(b) claim only if they plausibly
 7
      allege that Copilot’s output is identical to the Plaintiffs’ works. (Dkt. No. 189 at 14-16.)
 8
      “Section 1202(b) claims require that copies be ‘identical.’” (Id. at 14.)
 9
             In granting Plaintiffs’ leave to amend their DMCA claim, the Court emphasized that
10
      Plaintiffs could cure the defects in their claim only with plausible allegations that satisfy Section
11
      1202(b)’s identicality requirement. (Dkt. No. 189 at 16.) Plaintiffs have failed to do so. Like the
12
      FAC, the SAC does not identify even a single example of Copilot producing an identical copy of
13
      any work. Indeed, the SAC recites the same facts from the FAC that affirmatively demonstrated
14
      Copilot is not outputting identical copies:
15

16          With respect to Doe 1, Plaintiffs admit that they could only get Copilot to output Doe 1’s
             code “in Modified Format.” (SAC ¶ 124; FAC ¶ 112.) They affirmatively allege that the
17           output is not an “exact match for Doe 1’s code,” (SAC ¶ 120; FAC ¶ 108), relying instead
             on the fact that the new code output by Copilot supposedly “means the same thing” as
18           Doe 1’s code. (SAC ¶ 121; FAC ¶ 109.)
19
            With respect to Doe 2, Plaintiffs allege that the output is “functionally equivalent” to Doe
20           2’s code, but admit it’s not identical. (SAC ¶ 115 (emphasis added); FAC ¶ 103
             (emphasis added).)
21
            With respect to Doe 5, Plaintiffs similarly admit that it could only get Copilot to output
22           “modified copies” of Doe 5’s code. (SAC ¶ 125 (emphasis added), ¶ 133 (emphasis
             added); FAC ¶ 113 (emphasis added), ¶ 121 (emphasis added).) Once again, they rely on
23           the fact that the modification supposedly “does not affect how the code works.” (SAC
24           ¶ 128; FAC ¶ 116.)

25           The Court deemed these facts “not sufficient for a Section 1202(b) claim.” (Dkt. No. 189
26    at 15.) And these facts have not changed. Moreover, Plaintiffs’ continued failure to identify a
27    single example of an identical work being output by Defendants’ products, after more than a year
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                           3
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 11 of 27



 1    of litigation, renders implausible their allegations that Copilot is currently doing so or is likely to

 2    do so in the future. Powell v. Wells Fargo Home Mortg., No. 14-cv-04248-MEJ, 2017 WL

 3    840346, at *15 (N.D. Cal. Mar. 3, 2017) (dismissing claims after “Plaintiff has had multiple

 4    opportunities to allege [sufficient] facts, yet . . . has repeatedly failed to do so”); In re Ambry

 5    Genetics Data Breach Litig., 567 F. Supp. 3d 1130, 1151 (C.D. Cal. 2021) (dismissing claims

 6    after multiple amended complaints when “nothing in the record suggests that [the plaintiffs] could

 7    allege any new facts that would suffice to plausibly state most of these claims.”).

 8                      2. Plaintiffs’ New Allegations Confirm Copilot Does Not Make Identical
                           Copies of Plaintiffs’ Works
 9
              Unable to adduce evidence that Copilot has reproduced identical copies of Plaintiffs’
10
      works, Plaintiffs enlist two new allegations to speculate that such copying is likely occurring or
11
      likely to occur in the future: (1) GitHub’s code-referencing feature that “checks code completion
12
      suggestions” for its users, and (2) an unrelated academic study discussing that, when prompted
13
      with “prefixes,” which consist of the first part of a passage (of training data), bigger models are
14
      more likely than smaller ones to reproduce the rest of that passage verbatim. (SAC ¶¶ 104, 146;
15
      see also id. ¶¶ 208-209.) These two arguments, however, support Defendants’ position: they
16
      confirm that, like the FAC, the SAC does not allege identical copying of a work within the
17
      meaning of the DMCA.
18
              Neither of Plaintiffs’ two new arguments show or even allege that Copilot removes (or is
19
      likely to remove) CMI from “a work” at all. This is because neither argument implicates any
20
      work in its entirety. First, Plaintiffs allege that the GitHub code referencing feature “checks for
21
      verbatim excerpts” of code—not verbatim copies of the entire work. (SAC ¶ 145 (emphasis
22
      added).) Moreover, these “verbatim excerpts” are reproduced only when a user provides the first
23
      part of the code. (Id. ¶¶ 145-147). As a result, Plaintiffs’ allegations concerning the Copilot
24
      code-referencing feature do not suggest a “substantial risk” that identical copies of Plaintiffs’
25
      entire works will be outputted.
26
              Second, Plaintiffs rely on an academic study, Nicholas Carlini, et. al, Quantifying
27
      Memorization Across Neural Language Models, Int’l Conference on Learning Representations
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                            4
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 12 of 27



 1    2023, Kigali, Rwanda (the “Carlini Study,” Ex. 1),2 that similarly shows that Copilot does not

 2    (and will not) reproduce identical works in their entirety. (SAC ¶¶ 104, 209.) As an initial

 3    matter, the Carlini Study is not about Plaintiffs’ works, is not about Codex or Copilot, and is not

 4    about source code at all. As such, it does not provide a basis to think that Plaintiffs face a

 5    “substantial risk” of anything. (Id. ¶¶ 146, 206.)

 6           But even on its own terms, the Carlini Study does not suggest anything about the

 7    appearance of identical works without CMI, because it is about short passages, not entire works.

 8    The Carlini Study discusses the potential for a model to reproduce verbatim “parts of [] training

 9    data” (SAC ¶¶ 104 (emphasis added)) when prompted with a “prefix”—e.g., the first characters,

10    words or sentences (or more) of a given passage of text or code. (Carlini Study at 2.) Critically,

11    the Carlini Study is limited to analyzing the likelihood that a model will reproduce short passages

12    equivalent to roughly 25 words. (Id. at 4.) And even within that limitation, the study is premised

13    on a user supplying the first part of the passage to test whether the model will reproduce the rest

14    of it. “By feeding prefixes of these prompts into the trained model, [the authors] check whether

15    the model has the ability to complete the rest of the example verbatim.” (Id at 2. (emphasis

16    added).) Thus, the Carlini Study does not allege that any models, much less the ones at issue

17    here, are capable of reproducing identical copies of an entire work, much less the ones at issue

18    here. Indeed, it is entirely silent on those relevant points. At most, the study shows that some

19    models are capable of outputting identical parts of short passages when prompted with the first

20    part of those passages. And the reproduction of short passages that may be a part of larger work,

21    rather than the reproduction of an entire work, is insufficient to violate Section 1202. Thus, the

22    Carlini Study does not support the existence of a “substantial risk” that Defendants will violate

23    Section 1202(b)(3) of the DMCA. (SAC ¶ 206.)

24

25           2
                Plaintiffs rely extensively on the Carlini Study and therefore incorporate it by reference
      into the SAC. United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (document is
26    incorporated by reference into a complaint if the plaintiff “refers extensively to the document or
      the document forms the basis of the plaintiff's claim”); see SAC ¶¶ 104-107, 209.
27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                          5
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 13 of 27



 1              Lastly, Plaintiffs again allege that Copilot output “may contain code snippets longer than

 2    ~150 characters that matches code from the training data” “about one percent of the time.” (SAC

 3    ¶ 207; FAC ¶ 94.) Plaintiffs extrapolate this figure to speculate, as they did in the FAC, that

 4    violations are “constantly” occurring on the platform. (SAC ¶ 103; FAC ¶ 95.) But the Court

 5    already considered this allegation in the FAC and found it insufficient, without “the allegation of

 6    additional facts,” to plausibly state a Section 1202(b) claim. (Dkt. No. 189 at 16.) Plaintiffs still

 7    have not done so. Even with their two new arguments, Plaintiffs remain unable to identify a

 8    single example of the identical reproduction of any entire work—Plaintiffs’ or otherwise—

 9    despite the Court making plain that the fate of their claim rested on their ability to do so. As the

10    Court recognized, “this is a ‘fundamental defect’ ‘endemic to Plaintiffs’ theory of [Section]

11    1202(b) liability.” (Id. at 15 (cleaned up).) This defect has not been cured.

12              Accordingly, the 1202 claims should be dismissed in their entirety, even as to injunctive

13    relief.

14              B. Breach of Contract
15              Plaintiffs allege that OpenAI breached a contract between OpenAI and each plaintiff by
16    violating the terms of an open-source software license. (SAC ¶¶ 236-251.) As a threshold
17    matter, Plaintiffs’ only theory of breach is based on GitHub Copilot. Plaintiffs do not allege
18    breach based on the operation OpenAI Codex and have thus failed to state a claim against
19    OpenAI based on Codex. See Mendiondo, 521 F.3d at 1103-04 (to survive a Rule 12(b)(6)
20    dismissal, “the plaintiff must give the defendant fair notice of what the claim is and the grounds
21    upon which it rests.”) (cleaned up).
22              In addition, Plaintiffs’ claim against OpenAI based on Copilot fails for two independent
23    reasons. First, Plaintiffs’ theory of breach is based on Copilot’s outputs, which Plaintiffs concede
24    are controlled by GitHub, not OpenAI. Second, Plaintiffs have not articulated a theory of breach
25    of contract by anyone. Plaintiffs allege that attribution is required in order to receive a license—
26    but even then Plaintiffs’ remedy would be an action for copyright infringement (due to the lack of
27    a license), not for breach of contract (since these licenses contain no covenants by the licensee,
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                           6
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 14 of 27



 1    but instead only conditions on the grant of license). Because none of these deficiencies can be

 2    cured, the Court should dismiss the breach of contract claim against OpenAI without leave to

 3    amend. See Leadsinger, Inc. v. BMG Music Pub., 512 F.3d 522, 532 (9th Cir. 2008) (the court

 4    may deny leave to amend for “futility of amendment,” among other things).

 5                     1. The Open-Source Licenses Are Part of the SAC
 6           The named plaintiffs (Does 1-5) allege that OpenAI breached six open-source licenses:
 7    the MIT License (D.I. 98-1 at 58), GNU General Public License version 2.0 (id. at 28-34), GNU
 8    General Public License version 3.0 (id. at 35-48), GNU Affero General Public License 3.0 (id. at
 9    16-27), 3-Clause BSD License (id. at 9), and Apache License 2.0 (id. at 2-6) (collectively, the
10    “Doe Licenses”). (SAC ¶¶ 19-23.) Each license is part of the SAC because they are, at
11    minimum, incorporated by reference into the SAC.3 A document may be incorporated by
12    reference into a complaint “if the plaintiff refers extensively to the document or the document
13    forms the basis of the plaintiff’s claim.” See Ritchie, 342 F.3d at 908. Plaintiffs do both:
14    Plaintiffs refer to the Doe Licenses throughout the SAC (by reference to the superset of
15    “Suggested Licenses,” SAC ¶ 46 n.4) and assert a claim for breach of contract based on the
16    content of those licenses (see id. ¶¶ 238-239, 244-247). The Court should thus treat the Doe
17    Licenses as part of the SAC in considering this motion. See Ritchie, 342 F.3d at 908.
18                     2. Plaintiffs Do Not Allege Breach Based on the Operation of OpenAI’s
19                        Codex Product
             The SAC refers to OpenAI’s Codex product but fails to plead any facts supporting a
20
      theory of breach of contract based on that product.
21
             Plaintiffs acknowledge that OpenAI Codex and GitHub Copilot are different products
22
      offered by different parties. (SAC ¶¶ 24, 26.) But Plaintiffs’ allegations related to breach of the
23
      Doe Licenses are based entirely on the operation of Copilot. Plaintiffs allege that the parties
24

25
             3
                 In fact, it appears that Plaintiffs meant to attach the full text of the Doe Licenses to the
26    SAC in Appendix A—as Plaintiffs did for the FAC—but inadvertently omitted Appendix A from
      their filing. (See, e.g., SAC ¶ 74 n.9 (“See Appendix A for full text of the MIT License.”), ¶ 237
27    (“Plaintiffs and the Class offer code under various Licenses, the most common of which are set
      forth in Appendix A.”); D.I. 98-1 (Appendix A to FAC).)
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                          7
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 15 of 27



 1    entered into the Doe Licenses when Defendants “used the licensed code to create Copilot and

 2    when it incorporated the licensed code into Copilot,” as well as “every time Copilot Output[s]

 3    Plaintiffs’ or the Class’s copyrighted code.” (Id. ¶ 239 (emphasis added).) Similarly, Plaintiffs

 4    allege that Defendants breached the licenses by failing to do certain things when Copilot provides

 5    outputs to users. (Id. ¶¶ 238, 246-247.) They make no similar allegations about Codex.

 6    Plaintiffs thus fail to plead any theory for breach of the Doe Licenses based on OpenAI Codex.

 7                      3. Plaintiffs Also Fail to State a Claim Against OpenAI Based on Copilot
 8            Plaintiffs’ theory of breach of contract against OpenAI based on Copilot should also be
 9    dismissed for two independent reasons. First, Plaintiffs’ theory is based on actions by other
10    Defendants and does not give rise to a breach of contract claim against OpenAI. Second,
11    Plaintiffs’ theory fails on the merits because the contract terms that Defendants purportedly
12    breached are conditions, not covenants, to the Doe Licenses.
13                            a. Plaintiffs’ Theory Based on Copilot Does Not Give Rise to a Breach
14                               of Contract Claim Against OpenAI
              The allegations in the SAC purporting to explain Plaintiffs’ theory for breach of the Doe
15
      Licenses state in their entirety:
16

17                    238. Plaintiffs and the Class granted Defendants a license to copy,
                      distribute, and/or create Derivative Works under the Suggested
18                    Licenses. Each of the Suggested Licenses requires at least (1) that
                      attribution be given to the owner of the Licensed Materials used, (2)
19                    inclusion of a copyright notice for the Licensed Materials used, and
                      (3) inclusion of the terms of the applicable Suggested License.
20                    When providing Output, Copilot does not comply with any of these
                      terms.
21
                                                      ***
22
                      244. Defendants have substantially and materially breached the
23                    applicable Licenses by failing to provide the source code of Copilot
                      nor a written offer to provide the source code upon the request of
24                    each licensee.

25                    245. Defendants have substantially and materially breached the
                      applicable Licenses by failing to provide attribution to the creator
26                    and/or owner of the Licensed Materials.

27                    246. Defendants have substantially and materially breached the
                      applicable Licenses by failing to include copyright notices when
28                    Copilot Outputs copyrighted OS code.

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                        8
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 16 of 27



 1                   247. Defendants have substantially and materially breached the
                     applicable Licenses by failing to identify the License applicable to
 2                   the Work and/or including its text when Copilot Outputs code
                     including a portion of a Work.
 3
      (SAC ¶¶ 238, 244-247.)
 4
             All of these allegations are directed to Copilot’s outputs. Paragraph 238 alleges that
 5
      “[w]hen providing Output, Copilot does not comply with” certain terms of the Doe Licenses.
 6
      Paragraphs 246 and 247 allege that Defendants breached the Doe Licenses by “failing to include
 7
      copyright notices when Copilot Outputs copyrighted OS code” and “failing to identify the
 8
      License applicable to the Work and/or including its text when Copilot Outputs code including a
 9
      portion of a Work.” (Emphases added.) Paragraphs 244 and 245 are silent as to when the
10
      alleged breach occurs but it is clear from the surrounding paragraphs that they must also be
11
      referring to Copilot’s outputs. (See, e.g., SAC ¶ 238 (alleging that Copilot’s outputs fail to
12
      comply with terms of the Doe Licenses), ¶ 239 (alleging that Defendants entered into the Doe
13
      Licenses “every time Copilot Output[s] Plaintiffs’ or the Class’s copyrighted code”).
14
             Plaintiffs acknowledge that Copilot is sold, marketed, and distributed by GitHub. (SAC ¶
15
      24.) Plaintiffs’ only allegations here with respect to OpenAI are that “Copilot is a joint venture
16
      between GitHub and OpenAI” and that Codex “powers GitHub Copilot” (id. ¶ 59), and that
17
      OpenAI “program[m]ed, trained, and maintains Codex” and “Copilot requires Codex to function”
18
      (id. ¶ 26). In other words, Plaintiffs’ sole basis for asserting breach of contract against OpenAI is
19
      that OpenAI provided a product (Codex) to GitHub, which GitHub integrated into another
20
      product (Copilot), and GitHub’s product (Copilot) outputs code in a manner that allegedly
21
      breaches to the Doe Licenses.
22
             However, the SAC also makes clear that it is GitHub, not OpenAI, that controls what
23
      Copilot outputs. Plaintiffs allege that “GitHub introduced a user-settable Copilot filter” that
24
      prevents “Copilot from suggesting verbatim excerpts of ‘about 150 characters’ that come from
25
      Licensed Materials” (id. ¶ 145 (emphasis added)), followed by “an option to either allow or block
26
      code completion suggestions that match publicly available code” (id. ¶ 146), as well as the option
27
      to include a link to the applicable open-source license (id. ¶ 148). Plaintiffs rely on these
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                           9
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 17 of 27



 1    allegations as additional reasons why GitHub has purportedly violated open-source licenses. (Id.

 2    ¶ 149.) Thus, by Plaintiffs’ own assertions, Copilot outputs are subject to filtering and other

 3    features provided by GitHub, not OpenAI.

 4            In sum, Plaintiffs’ only articulated theory of breach of the Doe Licenses is based entirely

 5    on Copilot’s outputs and actions by GitHub. Because Plaintiffs have pled no facts plausibly

 6    alleging that OpenAI controls Copilot’s outputs—and, in fact, have pled facts showing the

 7    opposite—Plaintiffs have failed to state a claim for breach of the Doe Licenses against OpenAI.

 8    Plaintiffs’ breach-of-contract claim against OpenAI should be dismissed for this reason alone.

 9                            b. Plaintiffs’ Theory Based on Copilot Fails on the Merits
10            Plaintiffs’ breach-of-contract claim should also be dismissed because it is based on
11    Defendants’ alleged failure to meet the attribution and notice terms of the Doe Licenses, which at
12    most gives rise to a claim for copyright infringement (that Plaintiffs do not assert), not a claim for
13    breach of contract. As detailed below, the attribution and notice terms are conditions, not
14    covenants: a condition is an event that triggers an obligation under a contract, whereas a
15    covenant is an affirmative promise to do something. Only failure to perform on a covenant can
16    give rise to a breach of contract claim; failure to fulfill a condition cannot. If Plaintiffs are right
17    that there has been a failure to fulfill the attribution and notice terms, the consequence of that
18    failure would be that no license would be granted by Plaintiffs, and any unlicensed activity could
19    be copyright infringement. Because the Doe Licenses do not contain any promise to fulfill the
20    attribution and notice terms, but only condition the grant of a license on fulfillment of those
21    terms, Plaintiffs have failed to plead a cognizable theory for breach of contract. MDY Indus.,
22    LLC v. Blizzard Entm’t., Inc., 629 F.3d 928, 939 (9th Cir. 2010), as amended on denial of reh'g
23    (Feb. 17, 2011).
24                                  i.    The Attribution and Notice Terms Are Conditions, Not
25                                        Covenants
              As discussed above, Plaintiffs allege that Defendants breached the Doe Licenses because
26
      Copilot does not include attribution, copyright notice, or terms of the applicable license when
27
      providing outputs. (See SAC ¶¶ 238, 246-247.) The precise requirements for attribution and
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                           10
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 18 of 27



 1    notice—and associated permissions granted by the licensor—vary across the Doe Licenses. But

 2    for all of the Doe Licenses, any requirement to provide attribution or notice when copying or

 3    distributing the licensed code (or derivative works) is a condition, not a covenant, to the license.

 4           First, all the Doe Licenses use the language of conditions when referring to the attribution

 5    and notice terms. “Under California contract law, ‘provided that’ typically denotes a condition.”

 6    Jacobsen v. Katzer, 535 F.3d 1373, 1381 (Fed. Cir. 2008) (addressing an open-source license)

 7    (citing Diepenbrock v. Luiz, 159 Cal. 716, 115 P. 743 (1911)). All the licenses except the MIT

 8    License grant permission to copy, modify, and distribute the licensed code “provided that” the

 9    licensor include the specified attribution and notices with the code:

10
       GNU General Public       “1. You may copy and distribute verbatim copies of the Program's
11     License (“GPL”)          source code as you receive it, in any medium, provided that you
       version 2.0              conspicuously and appropriately publish on each copy an appropriate
12                              copyright notice and disclaimer of warranty; keep intact all the notices
                                that refer to this License and to the absence of any warranty; and give
13
                                any other recipients of the Program a copy of this License along with
14                              the Program.

15                              ***

16                              2. You may modify your copy or copies of the Program or any portion
                                of it, thus forming a work based on the Program, and copy and
17                              distribute such modifications or work under the terms of Section 1
                                above, provided that you also meet all of these conditions:
18
                                a) You must cause the modified files to carry prominent notices stating
19
                                that you changed the files and the date of any change.
20
                                b) You must cause any work that you distribute or publish, that in
21                              whole or in part contains or is derived from the Program or any part
                                thereof, to be licensed as a whole at no charge to all third parties under
22                              the terms of this License.
23                              c) If the modified program normally reads commands interactively
                                when run, you must cause it, when started running for such interactive
24
                                use in the most ordinary way, to print or display an announcement
25                              including an appropriate copyright notice and a notice that there is no
                                warranty (or else, saying that you provide a warranty) and that users
26                              may redistribute the program under these conditions, and telling the
27                              user how to view a copy of this License. (Exception: if the Program
                                itself is interactive but does not normally print such an announcement,
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                        11
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 19 of 27



 1                            your work based on the Program is not required to print an
                              announcement.)
 2
                              ***
 3
                              3. You may copy and distribute the Program (or a work based on it,
 4                            under Section 2) in object code or executable form under the terms of
 5                            Sections 1 and 2 above provided that you also do one of the following:

 6                            a) Accompany it with the complete corresponding machine-readable
                              source code, which must be distributed under the terms of Sections 1
 7                            and 2 above on a medium customarily used for software interchange;
                              or,
 8
                              b) Accompany it with a written offer, valid for at least three years, to
 9                            give any third party, for a charge no more than your cost of physically
10                            performing source distribution, a complete machine-readable copy of
                              the corresponding source code, to be distributed under the terms of
11                            Sections 1 and 2 above on a medium customarily used for software
                              interchange; or,
12
                              c) Accompany it with the information you received as to the offer to
13
                              distribute corresponding source code. (This alternative is allowed only
14                            for noncommercial distribution and only if you received the program in
                              object code or executable form with such an offer, in accord with
15                            Subsection b above.)”
16                            (D.I. 98-1 at 29-31(sections 1-3) (emphasis added).)
17     GNU General Public     “2. . . . You may make, run and propagate covered works that you do
       License (“GPL”)        not convey, without conditions so long as your license otherwise
18     version 3.0            remains in force.
19
                              ***
20                            4. Conveying Verbatim Copies
21                            You may convey verbatim copies of the Program's source code as you
22                            receive it, in any medium, provided that you conspicuously and
                              appropriately publish on each copy an appropriate copyright notice;
23                            keep intact all notices stating that this License and any non-permissive
                              terms added in accord with section 7 apply to the code; keep intact all
24
                              notices of the absence of any warranty; and give all recipients a copy
25                            of this License along with the Program.

26                            ***

27                            5. Conveying Modified Source Versions

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                     12
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 20 of 27



 1                            You may convey a work based on the Program, or the modifications
                              to produce it from the Program, in the form of source code under the
 2
                              terms of section 4, provided that you also meet all of these conditions:
 3
                              a) The work must carry prominent notices stating that you modified it,
 4                            and giving a relevant date.

 5                            b) The work must carry prominent notices stating that it is released
                              under this License and any conditions added under section 7. This
 6                            requirement modifies the requirement in section 4 to “keep intact all
                              notices”.
 7
                              c) You must license the entire work, as a whole, under this License to
 8
                              anyone who comes into possession of a copy. This License will
 9                            therefore apply, along with any applicable section 7 additional terms,
                              to the whole of the work, and all its parts, regardless of how they are
10                            packaged. This License gives no permission to license the work in any
11                            other way, but it does not invalidate such permission if you have
                              separately received it.
12
                              d) If the work has interactive user interfaces, each must display
13                            Appropriate Legal Notices; however, if the Program has interactive
                              interfaces that do not display Appropriate Legal Notices, your work
14                            need not make them do so.
15                            ***
16                            6. Conveying Non-Source Forms.
17                            You may convey a covered work in object code form under the terms
                              of sections 4 and 5, provided that you also convey the machine-
18
                              readable Corresponding Source under the terms of this License, in one
19                            of these ways:

20                            a) Convey the object code in, or embodied in, a physical product
                              (including a physical distribution medium), accompanied by the
21                            Corresponding Source fixed on a durable physical medium customarily
                              used for software interchange.
22
                              b) Convey the object code in, or embodied in, a physical product
23
                              (including a physical distribution medium), accompanied by a written
24                            offer, valid for at least three years and valid for as long as you offer
                              spare parts or customer support for that product model, to give anyone
25                            who possesses the object code either (1) a copy of the Corresponding
26                            Source for all the software in the product that is covered by this
                              License, on a durable physical medium customarily used for software
27                            interchange, for a price no more than your reasonable cost of
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                      13
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 21 of 27



 1                            physically performing this conveying of source, or (2) access to copy
                              the Corresponding Source from a network server at no charge.
 2
                              c) Convey individual copies of the object code with a copy of the
 3
                              written offer to provide the Corresponding Source. This alternative is
 4                            allowed only occasionally and noncommercially, and only if you
                              received the object code with such an offer, in accord with subsection
 5                            6b.
 6                            d) Convey the object code by offering access from a designated place
                              (gratis or for a charge), and offer equivalent access to the
 7
                              Corresponding Source in the same way through the same place at no
 8                            further charge. You need not require recipients to copy the
                              Corresponding Source along with the object code. If the place to copy
 9                            the object code is a network server, the Corresponding Source may be
10                            on a different server (operated by you or a third party) that supports
                              equivalent copying facilities, provided you maintain clear directions
11                            next to the object code saying where to find the Corresponding Source.
                              Regardless of what server hosts the Corresponding Source, you remain
12
                              obligated to ensure that it is available for as long as needed to satisfy
13                            these requirements.

14                            e) Convey the object code using peer-to-peer transmission, provided
                              you inform other peers where the object code and Corresponding
15                            Source of the work are being offered to the general public at no charge
                              under subsection 6d.”
16
                              (Id. at 37-41 (sections 2, 4-6) (emphasis added).)
17
       GNU Affero General     Same as GNU General Public License version 3.0 above. (See id. at
18     Public License         18-21 (sections 2, 4-6).)
19     (“Affero GPL”)
       version 3.0
20
       3-Clause BSD           “Copyright <YEAR> <COPYRIGHT HOLDER>
21     License
                              Redistribution and use in source and binary forms, with or without
22                            modification, are permitted provided that the following conditions
                              are met:
23
                              1. Redistributions of source code must retain the above copyright
24
                              notice, this list of conditions and the following disclaimer.
25                            2. Redistributions in binary form must reproduce the above copyright
26                            notice, this list of conditions and the following disclaimer in the
                              documentation and/or other materials provided with the distribution.
27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                      14
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 22 of 27



 1                            3. Neither the name of the copyright holder nor the names of its
                              contributors may be used to endorse or promote products derived from
 2
                              this software without specific prior written permission.
 3
                              THIS SOFTWARE IS PROVIDED BY THE COPYRIGHT
 4                            HOLDERS AND CONTRIBUTORS “AS IS” AND ANY EXPRESS
                              OR IMPLIED WARRANTIES, INCLUDING, BUT NOT LIMITED
 5                            TO, THE IMPLIED WARRANTIES OF MERCHANTABILITY
 6                            AND FITNESS FOR A PARTICULAR PURPOSE ARE
                              DISCLAIMED. IN NO EVENT SHALL THE COPYRIGHT
 7                            HOLDER OR CONTRIBUTORS BE LIABLE FOR ANY DIRECT,
                              INDIRECT, INCIDENTAL, SPECIAL, EXEMPLARY, OR
 8                            CONSEQUENTIAL DAMAGES (INCLUDING, BUT NOT
 9                            LIMITED TO, PROCUREMENT OF SUBSTITUTE GOODS OR
                              SERVICES; LOSS OF USE, DATA, OR PROFITS; OR BUSINESS
10                            INTERRUPTION) HOWEVER CAUSED AND ON ANY THEORY
                              OF LIABILITY, WHETHER IN CONTRACT, STRICT LIABILITY,
11
                              OR TORT (INCLUDING NEGLIGENCE OR OTHERWISE)
12                            ARISING IN ANY WAY OUT OF THE USE OF THIS SOFTWARE,
                              EVEN IF ADVISED OF THE POSSIBILITY OF SUCH DAMAGE.”
13
                              (Id. at 9 (emphasis added).)
14
       Apache version 2.0     4. Redistribution. You may reproduce and distribute copies of the
15                            Work or Derivative Works thereof in any medium, with or without
16                            modifications, and in Source or Object form, provided that You meet
                              the following conditions:
17
                              1. You must give any other recipients of the Work or Derivative
18                               Works a copy of this License; and
                              2. You must cause any modified files to carry prominent notices
19                               stating that You changed the files; and
20                            3. You must retain, in the Source form of any Derivative Works that
                                 You distribute, all copyright, patent, trademark, and attribution
21                               notices from the Source form of the Work, excluding those notices
                                 that do not pertain to any part of the Derivative Works; and
22
                             4. If the Work includes a “NOTICE” text file as part of its distribution,
23                               then any Derivative Works that You distribute must include a
                                 readable copy of the attribution notices contained within such
24                               NOTICE file, excluding those notices that do not pertain to any part
25                               of the Derivative Works, in at least one of the following places:
                                 within a NOTICE text file distributed as part of the Derivative
26                               Works; within the Source form or documentation, if provided along
                                 with the Derivative Works; or, within a display generated by the
27
                                 Derivative Works, if and wherever such third-party notices normally
28                               appear. The contents of the NOTICE file are for informational

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                    15
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 23 of 27



 1                                 purposes only and do not modify the License. You may add Your
                                   own attribution notices within Derivative Works that You distribute,
 2
                                   alongside or as an addendum to the NOTICE text from the Work,
 3                                 provided that such additional attribution notices cannot be construed
                                   as modifying the License.”
 4
                                (Id. at 3-4 (section 4) (emphasis added).)
 5

 6           In fact, the attribution and notice requirements in these licenses are analogous to the

 7    attribution requirement found to be a condition in Jacobsen: “The Artistic License grants users

 8    the right to copy, modify, and distribute the software: provided that [the user] insert a prominent

 9    notice in each changed file stating how and when [the user] changed that file, and provided that

10    [the user] do at least ONE of the following:….” 535 F.3d at 1380.

11           In addition, all the Doe Licenses, including the MIT License, use the word “condition” to

12    describe the attribution and notice requirements, which further suggests that they are, in fact,

13    conditions (not covenants). 1 Witkin, Summary 11th Contracts § 800 (2023) (“Express

14    conditions are those that are stated in the contract, and they are determined by the intention of the

15    parties as disclosed in the agreement” and can be stated with the words “provided” and “upon the

16    condition”); see also Jacobsen, 535 F.3d at 1381 (finding the attribution requirement a condition

17    in part because the license “states on its face that the document creates conditions: ‘The intent of

18    this document is to state the conditions under which a Package may be copied.’”).

19           Specifically, the MIT License grants permission “subject to the following conditions”:

20     MIT License              “Copyright <YEAR> <COPYRIGHT HOLDER>
21
                                Permission is hereby granted, free of charge, to any person obtaining
22                              a copy of this software and associated documentation files (the
                                “Software”), to deal in the Software without restriction, including
23                              without limitation the rights to use, copy, modify, merge, publish,
                                distribute, sublicense, and/or sell copies of the Software, and to permit
24                              persons to whom the Software is furnished to do so, subject to the
                                following conditions:
25

26                              The above copyright notice and this permission notice shall be
                                included in all copies or substantial portions of the Software.
27
                                THE SOFTWARE IS PROVIDED “AS IS”, WITHOUT
28                              WARRANTY OF ANY KIND, EXPRESS OR IMPLIED,

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                         16
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 24 of 27



 1                              INCLUDING BUT NOT LIMITED TO THE WARRANTIES OF
                                MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE
 2                              AND NONINFRINGEMENT. IN NO EVENT SHALL THE
 3                              AUTHORS OR COPYRIGHT HOLDERS BE LIABLE FOR ANY
                                CLAIM, DAMAGES OR OTHER LIABILITY, WHETHER IN AN
 4                              ACTION OF CONTRACT, TORT OR OTHERWISE, ARISING
                                FROM, OUT OF OR IN CONNECTION WITH THE SOFTWARE
 5                              OR THE USE OR OTHER DEALINGS IN THE SOFTWARE.”
 6                              (D.I. 98-1 at 58 (emphasis added).)
 7

 8    The 3-Clause BSD and Apache version 2.0 licenses, supra, grant permission “provided that” the

 9    licensee meet “the following conditions.” (D.I. 98-1 at 9 (emphasis added); id. at 3-4 (section 4)

10    (emphasis added).) The GPL version 3.0 and Affero GPL version 3.0 licenses, supra, state that

11    the licensee “may make, run and propagate covered works that [the licensee does] not convey,

12    without conditions” (id. at 37, (section 2) (emphasis added); id. at 18 (same) (emphasis added)),

13    and then set forth the conditions of conveying such works, some of which are expressly referred

14    to as “conditions” (id. at 38-41 (sections 4-6); id. at 19-21 (same)). And the GPL version 2.0

15    license, supra, expressly refers to at least some of the requirements for obtaining permission to

16    modify and distribute the licensed code as “conditions.” (Id. At 29-30 (section 2).)

17           Second, the attribution and notice requirements cannot be covenants (and thus must be

18    conditions) because the licensee never affirmatively promises to provide attribution or notice, but

19    instead receives a benefit if and only if they provide attribution and notice. The following set of

20    hypotheticals from Witkin is illustrative:

21                   A covenant is a promise to render some performance. The practical
                     distinction between a condition and a covenant may be illustrated as
22                   follows: (1) If B agrees to render some performance to A,
                     provided a condition happens, and the condition does not happen,
23                   A's duty to perform is excused, but A cannot recover damages from
                     B. (2) On the other hand, if no condition is stated, and B merely
24                   makes a promise, his or her breach of covenant will give rise to a
                     right of action for damages, but will not necessarily excuse A's
25                   performance. (3) However, if the condition is stated, and in
                     addition B promises that the condition will happen, upon the
26                   failure of the condition to occur not only is A's duty excused, but A
                     can also recover damages for the breach of covenant or promise.
27

28    1 Witkin, Summary 11th Contracts § 801 (2023) (emphasis added).

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                          17
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 25 of 27



 1           The structure of the permissions and associated attribution and notice requirements in the

 2    Doe Licenses aligns with the first scenario in Witkin. In each license, the licensor (B) agrees to

 3    render some performance to the licensee A (to grant A permission to copy, modify, and/or

 4    distribute the licensed code) provided that a condition happens (A includes the specified

 5    attribution and notices with the code). The licensee (A) never promises to include the specified

 6    attribution and notices with the code—thus confirming that those requirements are conditions, not

 7    covenants. See id.; see also Britschgi v. McCall, 41 Cal. 2d 138, 144 (1953) (a contract term that

 8    was “devoid of any affirmative undertaking on the part of the defendants to fulfill” was a

 9    condition that the defendants were not obligated to fulfill because they had never promised to do

10    so); MDY Indus., 629 F.3d at 939 (“A covenant is a contractual promise, i.e., a manifestation of

11    intention to act or refrain from acting in a particular way, such that the promisee is justified in

12    understanding that the promisor has made a commitment.”) (applying Delaware law).

13                                 ii.   Failure to Meet a Condition Does Not Give Rise to a Claim
                                         for Breach of Contract
14

15           It is well established that a breach of contract is “the unjustified failure to perform a
16    material promise or covenant.” Sun Microsystems, Inc. v. Microsoft Corp., 81 F. Supp. 2d 1026,
17    1030 (N.D. Cal. 2000) (emphasis added). Failure to meet a condition does not give rise to a claim
18    for breach of contract. City of Palm Springs v. Living Desert Reserve, 70 Cal. App. 4th 613, 621
19    (1999) (“The breach of condition may result in the termination of the transferee’s interest, but it
20    does not subject the transferee to actions for damages or to enforce the condition.”); see also 1
21    Witkin, Summary 11th Contracts § 801 (2023) (in analogous first scenario discussed above,
22    failure to meet the condition excuses performance by B but does not support a claim for damages
23    against A).
24           In the context of copyright licenses like the Doe Licenses, failure to meet a condition to
25    the license gives rise to a claim for copyright infringement, not breach of contract:
26                   If the grantee’s violation consists of a failure to satisfy a condition
                     to the grant (as distinguished from a breach of a covenant), it
27                   follows that the rights dependent on satisfaction of that condition
                     have not been effectively granted, rendering any use by the grantee
28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                            18
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 26 of 27



 1                      without authority from the grantor. The legal consequence is that
                        the grantee’s conduct may constitute copyright infringement.
 2

 3    3 Nimmer on Copyright § 10.15 [A][2]; see also Graham v. James, 144 F.3d 229, 236–37 (2d
 4    Cir. 1998) (quoting and adopting this principle from Nimmer). This is because the conditions are
 5    limitations on the scope of the copyright license: if the licensee fails to satisfy the condition and
 6    thus “acts outside the scope [of the license], the licensor can bring an action for copyright
 7    infringement.” Sun Microsystems v. Microsoft Corp., 188 F.3d 1115, 1121 (9th Cir. 1999).
 8    Plaintiffs have chosen not to bring a claim for copyright infringement—under which Plaintiffs
 9    would have the burden of providing additional elements, including but not limited to, registration
10    of copyright. Plaintiffs cannot evade those elements by pleading a copyright claim as a breach of
11    contract claim.
12    IV.    CONCLUSION
13           For the foregoing reasons, the Court should dismiss without leave to amend Plaintiffs’
14    remaining claims against OpenAI for violation of Section 1202(b) of the DMCA (Count 1) and
15    breach of contract (Count 2).
16

17

18

19

20

21

22

23

24

25

26

27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                                         19
     Case No. 4:22-cv-06823-JST
       Case 4:22-cv-06823-JST Document 219 Filed 02/28/24 Page 27 of 27



 1     Dated: February 28, 2024                   MORRISON & FOERSTER LLP

 2

 3                                                By:      /s/ Joseph C. Gratz
                                                            Joseph C. Gratz
 4
                                                  MICHAEL A. JACOBS
 5                                                MJacobs@mofo.com
                                                  JOSEPH C. GRATZ
 6                                                JGratz@mofo.com
                                                  TIFFANY CHEUNG
 7                                                TCheung@mofo.com
                                                  MELODY E. WONG
 8                                                MelodyWong@mofo.com
                                                  MORRISON & FOERSTER LLP
 9                                                425 Market Street
                                                  San Francisco, California 94105-2482
10                                                Telephone:    (415) 268-7000
                                                  Facsimile:    (415) 268-7522
11
                                                  ALLYSON R. BENNETT
12                                                ABennett@mofo.com
                                                  ROSE S. LEE
13                                                RoseLee@mofo.com
                                                  ALEXANDRA M. WARD
14                                                AlexandraWard@mofo.com
                                                  MORRISON & FOERSTER LLP
15                                                707 Wilshire Boulevard
                                                  Los Angeles, California 90017-3543
16                                                Telephone: (213) 892-5200
                                                  Facsimile: (213) 892-5454
17
                                                  Attorneys for Defendants OPENAI, INC., a
18                                                Delaware nonprofit corporation, OPENAI,
                                                  L.P., a Delaware limited partnership,
19                                                OPENAI OPCO, L.L.C., a Delaware limited
                                                  liability company, OPENAI GP, L.L.C., a
20                                                Delaware limited liability company, OPENAI
                                                  STARTUP FUND GP I, L.L.C., a Delaware
21                                                limited liability company, OPENAI
                                                  STARTUP FUND I, L.P., a Delaware limited
22                                                partnership, OPENAI STARTUP FUND
                                                  MANAGEMENT, LLC, a Delaware limited
23                                                liability company
24

25

26

27

28

     OPENAI’S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                                                                                               20
     Case No. 4:22-cv-06823-JST
